42 F.3d 1386
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Gerald J. RACHELSON, Plaintiff Appellant,v.Donna E. SHALALA, Secretary of Health and Human Services,Defendant Appellee.
    No. 93-2369.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 17, 1994Decided Dec. 5, 1994.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Benson E. Legg, District Judge.  (CA-91-3726-L)
      Gerald J. Rachelson, appellant pro se.
      Jeanette Plante, Asst. U.S. Atty., Baltimore, MD, Eileen Marie Houghton, U.S. Dept. of Health and Human Services, Washington, DC, for appellee.
      D.Md.
      AFFIRMED.
      Before RUSSELL and MURNAGHAN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order entering judgment to the Defendants in his employment discrimination action.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Rachelson v. Shalala, No. CA-91-3726-L (D. Md. Oct. 4, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    